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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF OREGON
                                    PORTLAND DIVISION

KEVIN KWOK, KYLE RINKER, and                   :
AMANDA STRICKLAND,                             :          Case No. 3:24-cv-00489-IM
                                               :
       Plaintiffs,                             :
                                               :
       v.                                      :
                                               :
THE BOEING COMPANY; and                        :
ALASKA AIRLINES, INC.                          :
                                               :
       Defendants.                             :
                                               :

                         STIPULATED DISMISSAL WITH PREJUDICE


       IT IS HEREBY STIPULATED AND AGREED by and between the parties, Plaintiffs

Kevin Kwok, Kyle Rinker, and Amanda Strickland, and Defendants The Boeing Company and

Alaska Airlines, Inc., that the above-captioned action be DISMISSED WITH PREJUDICE. The

parties agree that each shall bear their own costs.

DATED:               July 7, 2025


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                              CERTIFICATE OF SERVICE

       I hereby certify that on July 7, 2025, I served STIPULATED DISMISSAL WITH

PREJUDICE via the Court’s electronic filing system and by email to:

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Dated: July 7, 2025.

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